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                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION


MALIBU MEDIA, LLC,                              CASE NO. 1:17-cv-01343-LO-IDD

                  Plaintiff,

v.

XINNAN LIU,

                   Defendant.


                       ORDER ON STIPULATION OF DISMISSAL

       THIS CAUSE came before the Court upon the Parties’ Stipulation to Dismiss all Plaintiff

Malibu Media, LLC’s and Defendant Xinnan Liu’s claims against each other with prejudice, and

the Court being duly advised in the premises does hereby:

       ORDER AND ADJUDGE:


       1. All Plaintiff’s and Defendant Xinnan Liu’s claims against each other are hereby

           dismissed with prejudice.

       2. Each party shall bear its own attorneys’ fees and costs.

       3. This case is closed for administrative purposes.

       SO ORDERED this ___ day of ________________, 2018.



                                       By:
                                             UNITED STATES DISTRICT JUDGE




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